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                                                                                             United States Bankruptcy Court
                                                                                                 Southern District of Texas

                                                                                                    ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                                          May 03, 2024
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                       Nathan Ochsner, Clerk

                                 HOUSTON DIVISION

IN RE:                                                 §
                                                       §       CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                              §
                                                       §
         Debtor.                                       §
                                                       §
                                                       §       CHAPTER 11

                                    ORDER VACATING ORDER

        The Order entered on April 25, 2024 (ECF No. 239) is vacated. 1

         SIGNED 05/03/2024


                                                           ___________________________________
                                                           Jeffrey Norman
                                                           United States Bankruptcy Judge




1 The Court has denied approval of the competing Chapter 11 Disclosure Statement and Chapter 11 Plan.

1/1
